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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                            CHIEF JUDGE MARCIA S. KRIEGER

 Courtroom Deputy:      Kathleen Finney       Date: October 3, 2013
 Court Reporter:        Terri Lindblom
 Probation Officer:     Patrick Lynch

 Criminal Action No. 12-cr-00010-MSK

 Parties:                                         Counsel:

 UNITED STATES OF AMERICA,                        Guy Till

                Plaintiff,

 v.

 13. COREY L. RILEY,                              Harvey Steinberg

                Defendant.


                            SENTENCING MINUTES
 ______________________________________________________________________________

 3:36 p.m.      Court in session.

 Defendant present in custody.
 Change of Plea Hearing on November 29, 2012. Defendant pled guilty to Count 23 of the
 Superseding Indictment and Count 1 of the Information.

 Parties received and reviewed the presentence report and all addenda.

 The parties do not dispute the facts contained in the presentence report.

 The parties do not dispute the calculation of the sentence under the Federal Sentencing
 Guidelines as set forth in the original presentence report.

 The parties do request departure.

 The parties do not contend that the sentence should be different from that calculated under the
 Sentencing Guidelines in light of the sentencing objectives set forth in 18 U.S.C. Section
 3553(a).

 Allocution. - Statements made by: Mr. Till, Mr. Steinberg, and the defendant.

 After consideration of the provisions of 18 U.S.C. 3553 (a), the Court announces the sentence it
 intends to impose as reflected in the record. Counsel are offered the opportunity for further
 argument.
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 Sentencing Minutes
 Chief Judge Marcia S. Krieger
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 ORDER:         THE DEFENDANT IS SENTENCED AS REFLECTED IN THE RECORD.

 ORDER:         The Government’s § 5K1.1 and § 3553(e) Motion For Downward Departure
                Based on Substantial Assistance [#997] filed September 20, 2013 is
                GRANTED.

 ORDER:         The United States’ Motion for Preliminary Order of Forfeiture [#832] filed
                February 20, 2103 is GRANTED.

 The defendant is advised of his right to appeal.

 ORDER:         Defendant is remanded to the custody of the United States Marshal for the
                District of Colorado.
 4:14 p.m.      Court in recess.

 Total Time: 00:38
 Hearing concluded.
